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   CHHABRA LAW FIRM, PC
 1 ROHIT CHHABRA (SBN 278798)
   Email: rohit@thelawfirm.io
 2 257 Castro Street Suite 104
   Mountain View, CA 94041
 3 Telephone: (650) 564-7929

 4 Attorney for Plaintiffs
   Open Source Security Inc. &
 5 Bradley Spengler

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 7
                                  UNITED STATES DISTRICT COURT
 8                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
 9

10                                                   )    Case No.: 3:17-cv-04002-LB
   OPEN SOURCE SECURITY INC. and                     )
11 BRADLEY SPENGLER                                  )
                                                     )    UNOPPOSED MOTION TO STAY
12                             Plaintiff,            )    EXECUTION OF THE JUDGMENT
                                                     )    PENDING APPEAL AND TO APPROVE
13     v.                                            )    SUPERSEDEAS BOND;
                                                     )    JOINT STATEMENT BY PARTIES
14 BRUCE PERENS, and Does 1-50,                      )
                                                     )
15                             Defendants.           )
                                                     )    Hearing Date:
16                                                   )    Time:
                                                     )    Location: Courtroom C, 15th Floor
17                                                   )    Judge: Hon. Laurel Beeler
                                                     )
18                                                   )
                                                     )
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20
21          On June 9, 2018, this Court entered an order granting Defendant attorneys’ fees in the amount
22 of $ 259,900.50 and costs in the amount of and $2,403.12. Subsequently, a notice of appeal was filed
23
     on June 11, 2018 (Appeal No. 18-16082). Plaintiffs request that the court stay execution of the
24
     judgment/order pending appeal and approve supersedeas bond, attached hereto as Exhibit A, in the
25
     amount of $300,000, to cover the judgment and potential appeal fees/costs incurred by Defendant.
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27 Federal Rules of Civil Procedure, Rule 62(b) provides that “[o]n appropriate terms for the opposing

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     party’s security, the court may stay the execution of a judgment ... pending disposition” of post-trial
 1

 2 motions for judgment as a matter of law and/or for a new trial. Fed. R. Civ P. 62(b). In turn,

 3 Fed.R.Civ.P. 62(d), which governs the procedure by which a stay is issued during the pendency of

 4 appeal provides, in relevant part:

 5          Stay with Bond on Appeal. If an appeal is taken, the appellant may obtain
 6          a stay by supersedeas bond,.... The bond may be given upon or after filing
            the notice of appeal or after obtaining the order allowing the appeal. The
 7          stay takes effect when the court approves the bond.

 8          Plaintiffs now request approval of its supersedeas bond in the amount of $300,000, which will
 9 stay execution of the judgment pending appeal.

10
            During discussions between the parties, Defendant agreed that he would not oppose the
11
     approval of a bond in this amount as security supporting a stay of execution of the judgment, without
12
     waiving any rights in any additional amount above $300,000 to which he may be entitled upon
13

14 conclusion of Plaintiffs’ appeals, including post-judgment interest calculated at 2.23% (as of June 1,

15 2018) pursuant to 28 USC § 1961, computed daily to the date of payment, and compounded annually,

16 and reasonable fees and costs incurred in connection with Appeal Nos. 18-15189 and 18-16082.

17          A joint statement by the parties is attached herewith.
18
19
                                                 CONCLUSION
20
            For the foregoing reasons, Plaintiffs respectfully request that the Court grant this Motion to stay
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22 execution of the June 9, 2018 Order and approve Plaintiffs’ supersedeas bond in the amount of
23 $300,000 and for all other just and proper relief.

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25
                                                           Respectfully submitted,
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           Dated: June 22, 2018                 CHHABRA LAW FIRM, PC
1
                                                By:    /s/ Rohit Chhabra
2                                                              Rohit Chhabra
                                                Attorney for Plaintiffs Open Source Security, Inc.
3                                               and Bradley Spengler
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                                                                                   3:17-CV-04002-LB
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 1                               JOINT STATEMENT BY THE PARTIES

 2          The parties met and conferred regarding the possibility of filing a supersedeas bond and stay of

 3 execution of judgment from June 11, 2018 to June 20, 2018. During this time period numerous options

 4 were discussed to find an amicable solution acceptable to both parties, while reducing the burden to

 5 this Court by eliminating any further motion practice.

 6          The parties agreed that Plaintiffs would file a $300,000 (three hundred thousand dollars) bond

 7 as security supporting a stay of execution of judgment. Plaintiffs indicated that filing a bond over

 8 $300,000 would be impracticable and would be financially detrimental for Plaintiffs to perform their

 9 business operations. Defendant courteously agreed that he would not oppose the approval of a

10 $300,000 bond as security supporting a stay of execution of judgment. In so agreeing, Defendant

11 reserves the right to recover any additional amount above $300,000 to which he may be entitled upon

12 conclusion of Plaintiffs’ appeals, including post-judgment interest calculated at 2.23% (as of June 1,

13 2018), pursuant to 28 USC § 1961, computed daily to the date of payment, and compounded annually,

14 and reasonable fees and costs incurred in connection with Appeal Nos. 18-15189 and 18-16082.

15 Defendant agreed not to execute the judgment before the filing of this motion or while this motion is

16 pending.

17

18 Respectfully submitted,
19
     Date: June 22, 2018                                Date: June 22, 2018
20
      MELODY DRUMMOND HANSEN                            CHHABRA LAW FIRM, PC
21    HEATHER J. MEEKER
      CARA L. GAGLIANO
22    O’MELVENY & MYERS LLP
                                                        By:    /s/Rohit Chhabra
23                                                            Rohit Chhabra
                                                        Attorney for Plaintiffs
24    By:     /s/ Melody Drummond Hansen                Open Source Security Inc. & Bradley Spengler
             Melody Drummond Hansen
25    Attorneys for Defendant Bruce Perens
26

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                                                                                              3:17-CV-04002-LB
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           CERTIFICATION AS TO THE SOURCE OF COLLATERAL TO SECURE THE
1                               SUPERSEDEAS BOND
2

3          I, Rohit Chhabra, attorney for Plaintiffs in this matter declare and certify that the collateral

4 required to secure the supersedeas bond was provided by Plaintiffs. I further certify that no attorney

5 funds were used to secure the attached supersedeas bond.

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8
                                                          Respectfully submitted,
9

10         Dated: June 22, 2018                            CHHABRA LAW FIRM, PC

11                                                         By:    /s/ Rohit Chhabra
                                                                          Rohit Chhabra
12                                                         Attorney for Plaintiffs Open Source Security, Inc.
                                                           and Bradley Spengler
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     BOND
